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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK


 CARL PALADINO,
 BAP GROUP, INC.,

                                Plaintiffs,                    STIPULATION OF
                                                               DISMISSAL

                                                               No. 22-CV-541-JLS


 KEVIN P. BRUEN, in his official capacity as
 Superintendent of the New York State Police,
 JOHN C. GARCIA, in his official capacity as
 Sheriff of Erie County,
 JOHN GRAMAGLIA, in his official capacity as
 Commissioner of Buffalo Police Department,

                                Defendants.



       The parties appearing in this action, acting through counsel, and pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(ii) hereby stipulate to the dismissal of this action, including all

claims and counterclaims stated herein against all parties, with each party to bear its own attorney’s

fees and costs.

DATED:            Buffalo, New York
                  October 11, 2022


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